                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION

TCF EQUIPMENT FINANCE, a division                )
of TCF NATIONAL BANK                             )
                                                 )
     Plaintiff,                                  )
                                                 )          NO. 1:18-cv-00039
v.                                               )
                                                 )          JUDGE CAMPBELL
SITEWORK SPECIALTIES UTILITIES                   )          MAGISTRATE JUDGE FRENSLEY
& EXCAVATING LLC, BILLY JOE                      )
SPEARS, and MANDY SPEARS,                        )
                                                 )
     Defendants.                                 )

                                            ORDER

         Pending before the Court is the Magistrate Judge’s Report and Recommendation (Doc. No.

50), which was filed on October 22, 2020. Through the Report and Recommendation, the

Magistrate Judge recommends that Plaintiff’s Motion for Summary Judgment (Doc. No. 48) be

granted and that Plaintiff be awarded judgment against Defendants Sitework Specialties Utilities

& Excavating LLC, Mandy Lee Spears, and Billy Joe Spears in the amount of $66,000.60 plus

interest accruing after May 26, 2020, at the rate of $10.81 per day. The Defendants have not

responded to Plaintiff’s Motion for Summary Judgment, which was filed on June 1, 2020.

Although the Report and Recommendation advised the parties that any objections must be filed

within 14 days of service, no objections have been filed.

         The Court has reviewed the Report and Recommendation and concludes it should be

adopted and approved. Accordingly, Plaintiff’s Motion for Summary Judgment (Doc. No. 48) is

GRANTED, and Plaintiff is AWARDED judgment against the Defendants in the amount of

$66,000.60 plus interest accruing after May 26, 2020, at the rate of $10.81 per day. The pretrial




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conference, scheduled for November 9, 2020, and bench trial, set for November 17, 2020, are

canceled.

       This Order shall constitute the final judgment in this case pursuant to Fed. R. Civ. P. 58.

The Clerk is directed to close the file.

       It is so ORDERED.

                                                        ________________________________
                                                        WILLIAM L. CAMPBELL, JR.
                                                        UNITED STATES DISTRICT JUDGE




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